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                            IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                        PITTSBURGH

SHIRLEY A. HILSTER, DECEASED;                            )
CHARLES W. HILSTERJR.,                                   )
INDIVIDUALLY; SHIRLEY A. CARPIN,                         )                    2:20-CV-01537-MJH
                                                         )
AS EXECUTOR OF THE ESTATE OF                             )
SHIRLEY A. HILSTER, DECEASED; AND                        )
SHIRLEY A. HILSTER,                                      )
                                                         )
                  Plaintiffs,                            )
        vs.

AIR & LIQUID SYSTEMS
CORPORATION, et al.,

                  Defendants,

                                                ORDER

       Following consideration of the Motions for Summary Judgment by Defendants,

Duquense Light Company (ECF No. 339), Crane Instrumentation & Sampling, Inc. (ECF No.

341), Yuba Heat Transfer, LLC (ECF No. 353), 4520 Corp., Inc. (ECF No. 355), and Plaintiffs’

counsels’ indication by email correspondence that he did not oppose the granting of the same, it

is hereby ordered as follows:

       1.     Duquense Light Company’s Motion for Summary Judgment (ECF No. 339) is

              granted. Judgment is entered in favor of Duquense Light Company, and all claims

              against it are dismissed with prejudice.

       2. Crane Instrumentation & Sampling, Inc.’s Motion for Summary Judgment (ECF No.

              341) is granted. Judgment is entered in favor of Crane Instrumentation & Sampling,

              Inc., and all claims against it are dismissed with prejudice.
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3. Yuba Heat Transfer, LLC’s Motion for Summary Judgment (ECF No. 353) is granted.

   Judgment is entered in favor of Yuba Heat Transfer, LLC, and all claims against it are

   dismissed with prejudice.

4. 4520 Corp., Inc.’s Motion for Summary Judgment (ECF No. 355) is granted.

   Judgment is entered in favor of 4520 Corp., Inc., and all claims against it are

   dismissed with prejudice.

5. As Crane Instrumentation & Sampling, Inc. has been dismissed with prejudice. Its

   Motion to Exclude Plaintiff Expert Dr. Edwin Holstein (ECF No. 347) is dismissed as

   moot.

       DATED this __1st____ day of April, 2022.

                                     BY THE COURT:



                                     MARILYN J. HORAN
                                     United States District Judge
